                Case 8:20-cr-00029-PX Document 18 Filed 11/25/20 Page 1 of 3                 FILED
                                                                                     U.S. DISTRICT COURT
                                                                                    DISTRICT OF MARYLAND
                                                                                          11/25/2020
TFH: USAO 2020R00049
                                                                                         CLERK’S OFFICE
                                                                                         AT GREENBELT
                            IN THE UNITED STATES DISTRICT COURT                       BY KN, DEPUTY CLERK
                               FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                          *
                                                   *
           v.                                      *      CRIMINAL NO. PX-20-0029
                                                   *
 ANTHONY MICHAEL MILEO,                            *      (Possession of Child Pornography, 18
                                                   *      U.S.C. § 2252A(a)(5)(B); Forfeiture,
                       Defendant                   *      18 U.S.C. § 2253, 21 U.S.C. § 853(p), 28
                                                   *      U.S.C. § 2461(c))
                                                   *
                                                *******
                                   SUPERSEDING INFORMATION

                                             COUNT ONE
                                   (Possession of Child Pornography)

         The United States Attorney for the District of Maryland charges that:

         On or about May 28, 2019, in the District of Maryland and elsewhere, the defendant,

                                   ANTHONY MICHAEL MILEO,

did knowingly possess any material that contained an image of child pornography, as defined in

Title 18, United States Code, Section 2256(8), including an image of child pornography

involving a prepubescent minor and a minor who had not attained 12 years of age, which had

been mailed, shipped, and transported using any means and facility of interstate and foreign

commerce and in and affecting interstate and foreign commerce by any means, including by

computer, and which image was produced using materials that had been mailed, shipped, and

transported in and affecting interstate and foreign commerce by any means, including by

computer.



18 U.S.C. § 2252A(a)(5)(B) and (b)(2)
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                                 FORFEITURE ALLEGATION

       The United States Attorney for the District of Maryland further finds that:

       1.       Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to the

Defendant that the United States will seek forfeiture as part of any sentence in accordance with

18 U.S.C. § 2253, 21 U.S.C. § 853, and 28 U.S.C. § 2461(c), as a result of the Defendant’s

conviction under Count One of this Superseding Information.

                          Possession of Child Pornography Forfeiture

       2.       Pursuant to 18 U.S.C. § 2253, upon conviction of the offense set forth in Count

One of this Superseding Information, in violation of 18 U.S.C. § 2252A, the defendant,

                                ANTHONY MICHAEL MILEO,

shall forfeit to the United States of America:

                a.     Any visual depiction described in 18 U.S.C. § 2252A, or any book,

magazine, periodical, film, videotape, or other matter which contains any such visual depiction,

which was produced, transported, mailed, shipped, or received in violation of Title 18, United

States Code, Chapter 110;

                b.     Any property, real or personal, constituting or traceable to gross profits or

other proceeds obtained from the offense; and

                c.     Any property, real or personal, used or intended to be used to commit or to

promote the commission of the offense.

                                         Substitute Assets

       3.       If any of the property described above, as a result of any act or omission of the

defendant,

                a.     cannot be located upon the exercise of due diligence;



                                                  2
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                b.      has been transferred or sold to, or deposited with, a third party;

                c.      has been placed beyond the jurisdiction of the court;

                d.      has been substantially diminished in value; or

                e.      has been commingled with other property which cannot be divided

                        without difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant

to 21 U.S.C. § 853(p), as incorporated by 18, U.S.C. § 2253(b) and 28 U.S.C. § 2461(c), up to the

value of the forfeitable property described above.



18 U.S.C. § 2253
21 U.S.C. § 853
28 U.S.C. § 2461(c)
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Date: November 25, 2020
                                                         Robert K. Hur
                                                         United States Attorney




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